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7         IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

8                                            CALIFORNIA

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                                                     Case Number: 15-CR-0035
11   THE UNITED STAES OF AMERICA

12   V.                                                 [PROPOSED] SEALING ORDER
13

14   Clifford McDowell

15

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18          IT IS HEREBY ORDERED THAT Defendant's Supplemental Bail Motion Brief, Exhibit
19   In Support of Bail Motion and Request for Sealing Order be filed under seal.
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     Dated: September 21, 2015

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